        Case 1:14-cr-00190-DLH         Document 32        Filed 11/07/14     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                    )
                                             )
               Plaintiff,                    )       INTERSTATE AGREEMENT ON
                                             )       DETAINERS ORDER
       vs.                                   )
                                             )
John Eric Hobert,                            )       Case No. 1:14-cr-190
                                             )
               Defendant.                    )


       On November 7, 2014, the defendant appeared for his initial appearance and arraignment.

Appearing on behalf of the United States was SAUSA Michael Mahoney. AFPD William Schmidt

was appointed as defense counsel and appeared on the defendant’s behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the James River Correctional Facility in Jamestown, North Dakota. Pursuant to the Interstate

Agreement on Detainers Act (“IADA”), the defendant’s appearance before this court for his initial

appearance and arraignment was secured by a writ of habeas corpus ad prosequendum.

       During the hearing, the defendant’s rights under the IADA to continued federal custody until

the charges set forth in the indictment are adjudicated were explained to him. The defendant

knowingly, voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the

IADA in open court and stipulated to his continued housing by the State of North Dakota (the

“sending state” under the IADA) at a facility to be determined by the State. The United States

concurred in this stipulation.

       Based on the foregoing stipulation of the defendant and the United States and the

defendant’s wavier of the anti-shuttling provisions of the IADA, IT IS HEREBY ORDERED that

                                                 1
        Case 1:14-cr-00190-DLH          Document 32        Filed 11/07/14     Page 2 of 2




the defendant be housed in the “sending state” under the IADA, pending trial of this matter or until

further order of the court. Further, pursuant to the defendant’s waiver, the return of the defendant

to his place of incarceration pending trial shall not be grounds under the IADA for dismissal of the

charges set forth in the indictment.

       Dated this 7th day of November, 2014.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




                                                 2
